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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                    GF-16-19-GF-BMM-JTJ

                 Plaintiff,
                                                 ORDER
       v.


 ENCORE SERVICES, LLC,
 ZACHARY BROOKE ROBERTS,
 MARTIN GASPER MAZZARA, and
 RICHARD LEE BROOME

                 Defendants.



                                   I. Synopsis
      The Chippewa Cree Tribe filed a motion to quash the subpoena duces tecum
the Court issued on November 22, 2016, stating that (1) the Tribe’s sovereign
immunity relieved them from any requirement to respond to the subpoena and (2)
the subpoena was oppressive and unreasonable. (Docs. 118, 98, 100.) Defendants
opposed the motion. (Doc. 124.) The Court referred the Tribe’s motion to the
undersigned for disposition.
      The undersigned held hearings on the Motion on January 17, 2017, and
January 25, 2017. (Doc. 135.) The undersigned then ordered Defendants to submit
a proposed amended subpoena. (Doc. 136.) Defendants filed the proposed
amended subpoena on January 27, 2017. (Doc. 138.) The Tribe filed its response to
the subpoena on February 3, 2017. (Doc. 143.) The undersigned held a status

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conference on February 15, 2017. (Doc. 149.) During the status conference the
Tribe agreed that the proposed amended subpoena was not unreasonable or
oppressive because the Tribe had previously produced the documents the subpoena
requests in a civil action to which it was a party. (4:14-cv-00063-BMM). Given
this admission and the fact that the undersigned finds that the Tribe waived its
sovereign immunity in this case by voluntarily producing documents to the United
States in this case, the Tribe’s motion is granted in part and denied in part.
                                     II. Analysis
       Rule 17(c)(2) of the Federal Rules of Criminal Procedure states that a court
may quash a subpoena if “compliance would be unreasonable or oppressive.” The
Court finds that based on the Tribe’s statement that it has previously produced all
of the documents Defendants seek in their proposed amended subpoena,
compliance with the proposed amended subpoena would not be oppressive or
unreasonable. Thus, the Court may grant the Tribe’s motion only if it finds that the
Tribe has sovereign immunity in this matter.
       Tribes have sovereign immunity due to their status as dependant domestic
nations. United States v. James, 980 F.2d 1314, 1319 (9th Cir. 1992). A tribe
maintains this immunity unless it unequivocally waives it or Congress abrogates it.
Id. A tribe waives its sovereign immunity in regard to producing documents
relevant to a case when it voluntarily provides documents to a party. Id.
       Here, the Tribe voluntarily produced documents relevant to this case to the
United States. Thus, the Court finds that the Tribe waived its sovereign immunity
and must respond to a subpoena that seeks documents in its possession relevant to
this case.
       For the reasons stated above the Court issues the following order:
       1.    The Tribe’s Motion to Quash is granted in part and denied in part.


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2.   The Tribe must respond to the Subpoena Duces Tecum to the extent
     described below:
     The Tribe shall produce the following records:
     I.
           A. Business committee/tribal council meeting minutes;
           B. Administration/administrative committee meeting minutes;
           C. Administration/administrative sub-committee meeting
           minutes;
           D. Administration/administrative Budget committee meeting
           minutes;
           E. Administration/administrative Budget Sub-committee
           meeting minutes;
           F. Budget committee meeting minutes;
           G. Budget Sub-committee meeting minutes;
           H. Executive committee meeting minutes;
           I. Administration/administrative committee meeting minutes;
           J. Executive session meeting minutes;
           K. Administration/administrative session meeting minutes
           L. Resolutions
     for any Tribe entity or organization, including First American Capital
     Resources LLC (FACR) and/or Plain Green, LLC, which reference the
     following:
           1. Encore Services, LLC;
           2. Zachary Roberts;
           3. Martin Mazzara;
           4. Lee Broome;
           5. Encore Service Corporation;
           6. Ideal Consulting, LLC;
           7. Trio Consulting, LLC;


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          8. Think Finance, Inc.;
          9. Compensation to officers of Plain Green, FACR, Think
          Finance, the De
          10. Settlement agreements between the tribe and Neal Rosette
          or Billi Anne Morsette ;
          11. Severance agreements between the tribe and Neal Rosette or
          Billi Anne Morsette ;
    The requested time period is during and between the years 2010
    through 2013.
    II.
            Any records in its possession related to communications both,
     electronic and tangible, between Tribe members, including any
     business committee members/administrative members/executive
     committee members, which reference the above listed
     entities/individuals/items.
          The requested time period is during and between the years 2010
    through 2013.
         Specifically, the Tribe shall produce any and all responsive
     communications, made to and from any email addresses, including:
          1. Billi Anne Morsette: billianne@facrllc.com;
          billianne@plaingreenllc.com; suzanne@cct.rockyboy.org
          2. Neal Rosette, Sr.: neal@facrllc.com;
          neal@plaingreenllc.com
          3. Ted Russette, III (Board Member):
          trussette@cct.rockyboy.org
          4. Ted Demontiney (Board Member):
          tdemontiney@cct.rockyboy.org; tdemontiney@yahoo.com
          5. Richard "Rick" Morsette (Board Member):
          morsette@cct.rockyboy.org ricky@cct.rockyboy.org
          6. Chance Houle (Board Member):
          johnchance@cct.rockyboy.org;johnchance@mail.rockyboy.or
          g; c_houle@cct.rockyboy.org; twrdchair@yahoo.com
          7. Jake Parker (Board Member): jake@cct.rockyboy.org;
          jake@mail.rockyboy.org;
          8. Tony Belcourt (Board Member): tony@plaingreenllc.com;
          tbelcourt@cct.rockyboy.org; tbelcourt@mail.rockyboy.org;
          tbelcourt@hotmail.com

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          9. James Eastlick, Jr.: jeastlick@rbclinic.org;
          jim@rbclinic.rockyboy.org; jseastlick@msn.com
          10. Tim Rosette (Board Member): trosette@rbclinic.org
          11. Bruce Sunchild (Board Member): bsunchild@yahoo.com
          12. Dustin Whitford (Board Member):
          dustinwhitford@yahoo.com
          13. Theordore "Ted"Whitford (Board Member):
          tedewhitford@hotmail.com
          14. Joseph LaFromboise, Jr. (Board Member):
          bearpawjoe@yahoo.com
          15. TimothyMcInerney (Board Member):
          tim.mcinerney@fib.com; timbo.mcinerney@gmail.com
          16. Bruce Sunchild (Board Member): bsunchild@yahoo.com
          17. Donovan Stump (Board Member):
          donovinstump@yahoo.com
          18. Gerald Small (Board Member): gerald_small@yahoo.com
          19. janice@cct.rockyboy.org
          20. Richard Sangrey: richard@mail.rockyboy.org
          21. Bobbi Favel (Accounting): bobbif@plaingreenllc.com
          22. Kelly Ahenakew (Accounting): kelly@plaingreenllc.com
          23. Marquieta Jilot (Accounting):
          marquieta@plaingreenllc.com
          24. Nicole LaMere (Accounting): nicolel@plaingreenllc.com
          25. Neal Rosette, Jr.: nealjr@plaingreenllc.com
          26. jennifer@plaingreenllc.com
          27. Christine Jilot: chrisjilot@plaingreenllc.com
          28. Clyde Brown: clydebrown@plaingreenllc.com
          29. Harlen Baker: cree_talker@yahoo.com
          30. Paul Pratt: ppratt@omatopia.com


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          31. Grady Reynolds: greynolds@barreymgmt.com
          32. Linda Callnin: Think Finance, Inc.
          lcallnin@thinkfinance.com
          33. Virginia Chapa: Think Finance, Inc.
          vchapa@thinkfinance.com
          34. Sarah Cutrona: Think Finance, Inc.
          scutrona@thinkfinance.com
          35. K. Doherty: Think Finance, Inc.
          kdoherty@thinkfinance.com
          36. David Gentry: Think Finance, Inc.
          dgentry@thinkfinance.com
          37. Jason Harvison: Think Finance, Inc.
          jharvison@thinkfinance.com
          38. Chris Lutes: Think Finance, Inc.
          clutes@thinkfinance.com
          39. Angela McQuien: Think Finance, Inc.
          amcquien@thinkfinance.com
          40. Jay Dubow: Pepper Hamilton
          dubowj@pepperlaw.com
          41. Richard Eckman: Pepper Hamilton
          eckmanr@pepperlaw.com
          42. Derek E. Hines: Pepper Hamilton
          hinesd@pepperlaw.com
          43. Christina O. Hud: Pepper Hamilton
          christinao@pepperlaw.com
          44. Richard Zack: Pepper Hamilton
          zackr@pepperlaw.com
          45. Aaron D. Ford: Snell & Wilmer
          aford@swlaw.com
          46. Karl O. Riley: Snell & Wilmer
          kriley@swlaw.com
          47. Kevin S. Brown: Paoli and Brown
          kevin@paolibrown.com
           The Tribe does not need to produce communications that were
    sent directly to the Defendants.

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3.   The Tribe shall deliver copies of such records to counsel for the
     Defendants on or before February 24, 2017.
4.   Defendants shall pay the costs of copying the documents responsive
     to the subpoena, not to exceed eight cents per page ($0.08/page). In
     the alternative to copying costs, counsel for the Defendants can
     provide a USB or external drive to counsel for the Tribe and pay a
     fee of $.04 per page scanned and uploaded to the drive.

DATED this 21st day of February 2017.




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